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            EXHIBIT J
         Mesiti Declaration
 Infringing Product Images Type 3
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                            Front View
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                            Back View
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                            First Side
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                           Second Side
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                               Top
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                             Bottom
